                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                   CORPUS CHRISTI DIVISION

SHANE GREER,                                           §
Individually and on behalf of all others               §
similarly situated                                     §
                                                       §
       Plaintiff,                                      §       Civil Action No. 2:15-cv-415
                                                       §
v.                                                     §
                                                       §       JURY TRIAL DEMANDED
ARDOIN, INC. D/B/A                                     §
SOUTHERN TECHNICAL CONTROL,                            §
JASON ARDOIN and ALICIA K. ARDOIN                      §
                                                       §       COLLECTIVE ACTION
       Defendants                                      §       PURSUANT TO 29 U.S.C. § 216(b)

   [PROPOSED] ORDER GRANTING JOINT MOTION FOR CONFIDENTIAL
APPROVAL OF SETTLEMENT AGREEMENT AND DISMISSAL WITH PREJUDICE

       Pending before this Court is the Parties’ Joint Motion for Confidential Approval of Settlement

Agreement of Dismissal with Prejudice (“Motion”). The Court has reviewed the terms of the

settlement, the pleadings in this case, and the issues presented therein and approves the settlement,

including all of the terms set forth in the Confidential Settlement Agreement and Release attached as

Exhibit “A,” filed under seal and dismisses this lawsuit with prejudice.


       Signed on this ______ day of _________________________, 2017.


                                               __________________________________________
                                                     HON. NELVA GONZALES RAMOS
                                                    UNITED STATES DISTRICT JUDGE
